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                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA            §
                                    §
V.                                  §      CRIMINAL NO. 4:15-CR-00015
                                    §
RICHARD ARTHUR EVANS, MD            §
________________________________________________________________________

    RICHARD ARTHUR EVANS REQUEST FOR FORFEITURE HEARING

TO THE HONORABLE KENNETH HOYT:

       COMES NOW, Richard Arthur Evans, Defendant, by and through his attorneys of

record, and files this Request for Forfeiture Hearing.

       Dr. Evans was convicted on July 26, 2016. Sentencing is set for October 17, 2016.

As the Superseding Indictment of which Dr. Evans was convicted contained a Forfeiture

count, Dr. Evans requests a hearing prior to sentencing pursuant to Fed. R. Crim. P.

32.2(b)(1)(B).

                                          Respectfully Submitted,

                                          Hanszen Laporte LLP

                                   By:    /s/ Charley A. Davidson
                                              Charley A. Davidson
                                              State Bar No. 05430700
                                              11767 Katy Freeway, Suite 850
                                              Houston, Texas 77079
                                              (713) 522-9444 Telephone
                                              (713) 524-2580 Facsimile

                                          ATTORNEY FOR RICHARD A. EVANS, MD
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                            CERTIFICATE OF SERVICE

        This is to certify that all counsel of record who are deemed to have consented to

electronic service are being served with a copy of this instrument via the USDC Southern

District’s CM/ECF system per Local Rule CV-5(a)(3) on this the 18th day of August,

2016.



                                                /S/ Charley A. Davidson
                                                Charley A. Davidson
